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 1                                                  THE HONORABLE ROBERT S. LASNIK
 2

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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9
     UNITED STATES OF AMERICA,              )
10                                          )                     NO. CR04-524L
                      Plaintiff,            )
11                                          )
                v.                          )                     ORDER CONTINUING TRIAL
12                                          )
                                            )
13   TOM JULIEN TOMASCZEWSKI,               )
                                            )
14                    Defendant.            )
     _______________________________________)
15

16                   THE COURT having considered the entirety of the record herein,
17   FINDS AND RULES AS FOLLOWS:
18                   1.     This case is currently set for trial on June 27, 2005.
19                   2.     Defense counsel, Douglas Hiatt, has informed the Court that he is
20   undergoing a family medical emergency, specifically that his mother is terminally ill and
21   hospitalized. As a result, Mr. Hiatt is unable to prepare this case for trial, or finalize a
22   settlement, at this time.
23                   3.     Defendant is out of custody, residing in California. This distance has
24   further hampered Mr. Hiatt’s efforts to prepare or resolve this case by the current trial date,
25   in light of his need to be in the hospital with his mother in Seattle.
26                   4.     As a result of his family medical emergency, counsel for Defendant
27   requests a trial continuance of approximately two weeks. The United States does not oppose
28   this request.

                                                                                          UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
     ORDER CONTINUING TRIAL - 1                                                         SEATTLE, WASHINGTON 98101-1271
     United State v. Tom Tomasczewski/CR04-524RBL                                                (206) 553-7970
             Case 2:04-cr-00524-RSL           Document 18     Filed 06/22/05     Page 2 of 2



 1                   5.     Defendant has agreed to this request and will file a written waiver of
 2   speedy trial covering a continuance of at least two weeks.
 3

 4                   IT IS HEREBY ORDERED that the trial shall be continued from June 27,
 5   2005, until July 11, 2005.
 6                   IT IS HEREBY ORDERED that the period of time between June 27, 2005,
 7   until the new trial date shall be excluded from computation under 18 U.S.C.
 8   §§ 3161(h)(8)(A), and 3161(h)(8)(B)(i) and (iv), because of the defense counsel’s family
 9   emergency, his need for more time for effective trial preparation or resolution, and to
10   preserve continuity of counsel, taking into account the exercise of due diligence, because it is
11   unreasonable under these circumstances to expect adequate preparation for trial.
12                   THE COURT FURTHER FINDS that the ends of justice served by this
13   continuance outweigh the best interest of the public and Defendant in a speedy trial.
14          DATED this 22nd day of June, 2005.
15

16                                                       A
                                                         Robert S. Lasnik
17
                                                         United States District Judge
18   Presented by:
19   JOHN McKAY
     United States Attorney
20

21
     SARAH VOGEL
22   Assistant United States Attorneys
23
     Approved:
24

25   ____________________________
26
     DOUGLAS HIATT
     Counsel for Defendant
27

28


                                                                                          UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
     ORDER CONTINUING TRIAL - 2                                                         SEATTLE, WASHINGTON 98101-1271
     United State v. Tom Tomasczewski/CR04-524RBL                                                (206) 553-7970
